       Case 3:17-cv-00939-WHA Document 2624 Filed 02/05/18 Page 1 of 3



 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
     Charles K. Verhoeven (Bar No. 170151)
  charlesverhoeven@quinnemanuel.com
     David A. Perlson (Bar No. 209502)
  davidperlson@quinnemanuel.com
     Melissa Baily (Bar No. 237649)
  melissabaily@quinnemanuel.com
     John Neukom (Bar No. 275887)
  johnneukom@quinnemanuel.com
     Jordan Jaffe (Bar No. 254886)
  jordanjaffe@quinnemanuel.com
    50 California Street, 22nd Floor
  San Francisco, California 94111-4788
    Telephone:     (415) 875-6600
  Facsimile:     (415) 875-6700

  Attorneys for WAYMO LLC





                                 UNITED STATES DISTRICT COURT

                 NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

      WAYMO LLC,                               CASE NO. 3:17-cv-00939-WHA

                    Plaintiff,                 PLAINTIFF WAYMO’S SECOND
                                            AMENDED FEBRUARY 5, 2018 LIST OF
           vs.                                 NEXT SEVEN WITNESSES

    UBER TECHNOLOGIES, INC.;
 OTTOMOTTO LLC; OTTO TRUCKING
    LLC,

              Defendants.

















                                                               CASE NO. 3:17-cv-00939-WHA
                                                         WAYMO’S LIST OF NEXT SEVEN WITNESSES
      Case 3:17-cv-00939-WHA Document 2624 Filed 02/05/18 Page 2 of 3



 1          Pursuant to this Court’s December 4, 2017 Order (Dkt. 2340) and the parties' stipulation

 2 (1/30/17 Hearing Tr., 106:8-19), Plaintiff Waymo LLC (“Waymo”) hereby submits the following

 3 rolling list of its next seven trial witnesses:

 4                  1.      Gary Brown

 5                  2.      William Grossman

 6                  3.      John Bares (by deposition)

 7                  4.      Travis Kalanick

 8                  5.      Brian McClendon (by deposition)

 9                  6.      Cameron Poetzscher

10                  7.      Nina Qi

11                  8.      Lior Ron

12                  9.      Bill Gurley

13                  10.     Jim Timmins

14                  11.     Eric Friedberg

15                  12.     Melanie Maugeri

16                  13.     Eric Tate

17                  14.     Andy Crain

18                  15.     Michael Janosko
19          Pursuant to this Court's January 18, 2018 Order (Dkt. 2492), Waymo states that it intends

20 to request closure of the courtroom for the final 9 minutes of John Bares’ testimony because he

21 will be discussing the substance of Waymo’s asserted trade secrets.

22

23   Dated: February 5, 2018                         QUINN EMANUEL URQUHART & SULLIVAN, LLP

24                                                    By /s/ Charles K. Verhoeven
25                                                       Charles K. Verhoeven
                                                         Attorneys for WAYMO LLC
26
27

28

                                                        -2-                  CASE NO. 3:17-cv-00939-WHA
                                                                    WAYMO’S LIST OF NEXT SEVEN WITNESSES
      Case 3:17-cv-00939-WHA Document 2624 Filed 02/05/18 Page 3 of 3



 1                           ATTESTATION OF E-FILED SIGNATURE
 2         I, Charles K. Verhoeven, am the ECF User whose ID and password are being used to file

 3 this Plaintiff Waymo's February 5, 2018 List of Next Seven Witnesses.

 4

 5 Dated: February 5, 2018                                  /s/ Charles K. Verhoeven
                                                        Charles K. Verhoeven
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26
27

28

                                                  -3-                      CASE NO. 3:17-cv-00939-WHA
                                                                  WAYMO’S LIST OF NEXT SEVEN WITNESSES
